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 LAW OFFICE OF CARL M. VARADY

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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI`I

 SONYA ADAMS, JONATHAN                     CIVIL NO. 12-00667-BMK
 ABUAN, KAMERON ACERET,
 KANANI ADAMS, JASON AGLIAM,               (Other Civil Action -FLSA)
 TIANA AHUE, LANCE AIMOTO,
 DAREN AJIFU, ANDREW AKANA,                THIRD AMENDED
 JEAN-THIERRY ALEMAN,                      COMPLAINT; RENEWED JURY
 MANAHEL AL-HOZAIL, TERESA                 DEMAND; EXHIBITS 1-317;
 ALLEN, ANTHONY ALTOMARE,                  SUMMONS
 JENNIFER ALTOMARE, KEN T.
 ANAMA, LINDSEY ANDREWS,
 CHANTE MARIE ANGUAY,
 KENNETH ARAI, JOHN ARAKAWA,
 KURRY ARAKI, KYLE ARNBERGER,
 JOSEPH AU, FRANCIS S.
 AURELLANO, DANIEL BACHMAN,
 GABRIEL BADUA, CRISTINA
 BAGLIO, JOHNNY BRANDT BAIZE,
 EDWIN V. BARAYUGA, PAUL Z.
 BARRAZA, AMADOR JONAH E.
 BARRIOS, WILLIAM B. BATALON,
 KANISHA BELLO, ALEX BERARDO,
 LINDA BILLINS, MATTHEW BISE,
 ANDREW H. BOND, MICHAEL E.
 BOWDERN, JUSTIN BRAID, KEAVY
 BRENNAN, EDWARD CABALLERO,
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 CYRUS CAMP, FLOYD J.
 CASTELLANO, ASHLEY
 CAZIMERO, SHIRLEY ANN
 CAZINHA, MARLON R. CEZAR,
 MICHAEL CHAN, ERIC CHIAVETTA,
 JEFFREY CHING, DIANA P. CHUN,
 JOLENE CHUN, FRANCES CHUNG,
 CHRISTOPHER COLOMA, ROMEL
 CORONEL, EMMA CRISTINA A.
 CORPUZ, JENNIFER H. COSTA,
 CHRISTINA ERIN COULSON,
 SARAH COVELL, JADE DAWSON,
 DANIEL DEANDA, SHAWNA DELOS
 SANTOS, DANIELLE-JORDAN K.S.
 DEMELLO, KELLY DESHA, DARCEL
 DIZON, DEO AMOR DOMINGO,
 JOSEPH M. DOMINGO, JR.,
 MATTHEW DOMINGO,
 CHRISTOPHER DRAZIC, JOSEPH
 DUHAYLONSOD, ADELE
 DULDULAO, NEAL CARLO
 FAJARDO, KENNETH FARIA,
 SUNNY FITZGERALD, WILLIE
 FONG, DEVIN FONTANILLA, NIKO
 FONTANILLA, RAYMOND FRANCO,
 TIMOTHY FREDRICKSON,
 SHANNON M. FUCHIGAMI, MARIO
 FUENTES, REECE FUJIKAWA,
 HOWARD FUJIMOTO, EDWARD
 FUJIOKA, JANSEN FUKUDA, DANE
 FURUTANI, JULIA K. C. GABAYLO,
 JENNA MARIE GANDY, ANGELA
 GARCIA, KEOPELE GOWAN,
 LAURIE A.O. GRACE, JANE L.
 GREENWOOD, FRANKLIN
 GREGORIO, DONALD GREY,
 NORMAN T.K. HAHN, TREVOR

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 HALVERSON, BRIAN HARRISON,
 JAMES HARUGUCHI, ASHLEY
 HASHIMOTO, KAIPO HAYASHIDA,
 ROBERT HAYSLIP, NATASHA HEE,
 JEANEEN HELDT, WESLEY HELM,
 RUDDY HERNANDEZ, KELSEY
 HIGA, KIMBERLY HIGA, NICHOLAS
 YOSHIO HIGA, TROY HIGUCHI,
 MIKE HIRATA, CATHERINE M. HO,
 JACOB HO, KITMING HO,
 JONATHAN HONG, JEFFREY R.
 HUGHES, THOMAS SIMMS
 HUGHES, MALEK HURD, GUSTAVO
 HWUNAN, BRANDEN M. IGE, JEFF
 JACOBSON, TONYA C. JOHNSON,
 DAGAN JOHNSTON, PATRICIA
 JONES, FELIMON JULIANO, JR.,
 WAIPUNALANI H. KAHALEPUNA,
 LANE KAHANAOI-NICHOLS,
 HENRY P. KAHULA, IV, JUDY
 KAKAZU, RYAN KALUA,
 MITCHELL K.C. KAM, JR.,
 BREXSON KAMANO, DENISE
 KAMEDA, JOHN KANAULU, JR.,
 BRANDEN E. KANESHIRO, JASON S.
 KANESHIRO, TED KANESHIRO,
 JILLIAN KELEKOMA, TRAVIS
 KERWIN, KELLY C. KIHE, YU SUNG
 KIM, YVONNE KINERNEY-AUSTIN,
 RICH KING, MATTHEW
 KINOSHITA, SCOTT E. KIRLEY,
 DOREEN KITAGAWA, ARLENE
 KOH, ERICKSEN KOHATSU,
 BENNETT KOJIMA, ANDY
 KUMAMOTO, LAURA KUMAMOTO,
 JEFFRY L. KURASHIMA, ALVIN
 KURIHARA, JON KUROSU, JON

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 KUSANO, JOHNELL LADERA,
 MAILE LAMBETH, MATTHEW
 LAMKE, ZAKARIAH K. LANI
 YOUNG, MARIE LAPLACA, BRETT
 R. LARONDE, CHAD LAU, KARLY
 LAU, LAUREN LAU, BELINDA C.W.
 LEE, CHRISTOPHER ROBIN LEE,
 DOMINIQUE LEE, JONATHAN J.
 LEE, STEVEN LEE, LEE L.
 LENCHANKO, HOPE ANN
 YOUNGBLOOD LEWIS, WAILUA
 LIND, TRACIE K.Y. LOCK, JASON P.
 LOPEZ, CRISTA LOVE, CHRISTINE
 LUAN, JUAN M.R. LUJAN, ERIC
 LUM, PAMELA LUM, JOHN LYDEN,
 CHRISTOPHER MANSITO, GEORGE
 K. MANUEL, MATEO FRANCISCO
 MARIANO, JARETT MARTIN,
 ANGELA MARUMOTO, ANGELA
 MASUDA, TED MASUDA, ALLYN
 MATSUDA, JUSTIN MATSUDA,
 JUSTIN MATSUDO, KRYSTL
 MATSUNAGA, KILI MATSUSHIMA,
 IAN S. MCCAULLEY, SARAH
 MCDONALD, THERESA
 MCGREGOR, MOLLY MCGUIRE,
 SEAN MCGUIRE, MATTHEW
 MCMULLIN, LUIS M. MELENDEZ,
 RICHARD K. MENDONCA, SHALEI
 MENESES, SHEREE MILLER,
 KIMBERLY MIYASATO, MARK
 MOCHIDA, ERIC MOENNICH,
 SHARA MOLINA, SCOTT MONJI,
 BERNARDO P. MOREIRA, MARC
 MORIGUCHI, JASON MOSES, JOHN
 E. MOSLANDER, DAVID MOWER,
 CHAD MULLEITNER, GARY L.

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 MUNIZ, SHERRYANN MURPHY,
 JACK NAGAISHI, JOY NAKAHARA,
 CORY NAKAYAMA, KYLAN
 NASCIMENTO, LANE T. NATORI,
 CHRISTOPHER C. NICHOLS, CHRIS
 H. NITTA, NATHAN NONAKA,
 ADAM D. OGDEN, DERRICK
 OKAMOTO, NED L. ONTAI, ROCHEL
 ORTIZ, NICOLE OTA, RYAN
 PAEKUKUI, STACEY PALEA, MARK
 DOMINIC PALTING, ROBERT
 PANTOCA, HUMBERTO PARODI,
 CHRISTIAN PERKINS,
 CHRISTOPHER K. PIDOT, JENNIE
 PIGAO, DANIEL POMERANTZ,
 KARESE POULOS, LINDSAY N.
 PRITCHARD, GERALD H.
 RABACAL, SUE RAUCH, JOEL
 RAYMOND, JASON ROBINSON,
 ANTHONY ROSSI, GRETCHEN
 SAILER, WILLIAM FRANK SAINS,
 JUSTIN SANTIAGO, KIMBERLY
 SANTOS, DEAN R. SCHILD,
 ALEXANDER C. SCHMALENSEE,
 KA'OHUOKA'ALA SETO, BRENT
 SHIMABUKURO, DARCY SHIMIZU,
 MELINDA SHIRAKI, ESTEE
 (OKAMURA) SHIZURU, ANTHONY
 SIMPSON, BRENDAN SMITH, KEA
 SMITH, NAOMI L. SMITH,
 KALEOLANI SOUZA, BRYAN
 STAUBITSER, MIKEN STAUBITSER,
 KEVIN M. STINSON, JAKE STYNER,
 SHINNOSUKE SUGA, AKOI
 SUGIYAMA, CHESTER SUKEKANE,
 ZACHARY L. SUNIGA, PAUL
 TAGARIELLO, EUGENE

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 TAKAHASHI, JORDON
 TAKAKURA-PUHA, DON TAKARA,
 KRYSTLE TAKARA, LEIGHTON
 TAKARA, BEN TAKEMURA, SHAUN
 K. TAKESHITA, CHAS TAKETA,
 CHADWICK TAM, DEVIN TAM,
 JEFFREY H. TAMAYE, MARITES
 TAMAYO, ALLAN TAMBIO, KELL
 Y. TANABE, JR., JARED TANOUYE,
 JACK TAUSEND, ISAAC TEJADA,
 EDWARD K. THOMPSON, IV,
 MICHAEL THOMPSON, RACHAEL
 TOMAS-QUINSAAT, KAY TOMASA,
 LANDON TOSHI, ANDREW K.
 TREJO, DAWNE TSUHA, MATTHEW
 TSUNEDA, ALISA A. TUI, K.A.
 PUANANI TUULIMA, KEVIN K.
 TWOMEY, RYAN UMENO, DANIEL
 UNO, SHELDON UYETAKE, EPELI
 VAKALALABURE, CHRISTIAN
 VELASCO, LEE VIERRA, ERIC
 WATANABE, JULIE WATANUKI,
 JILLIAN WENDERLICH, BARRY
 WILDERN, JEFFREY WILKINSON,
 RODNEY WILLIAMS, RONALD M.
 WOLF, II, GREGORY WONG, SHARI
 WONG, RONALD N. YAMADA,
 EVAN K. YAMAGISHI, SPENCER
 YAMAMOTO, KAZUO YAMAUCHI,
 DERRICK T.T. YONEZAWA, STACY
 YOSHIKAWA, ALAN W.L. YOUNG,
 JULIE M. YOUNG, EMILY L.
 ZUCKERNICK and JANE DOES AND
 JOHN DOES 1-250,

                   Plaintiffs,


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       v.

 CITY AND COUNTY OF
 HONOLULU,

                   Defendant.




                     THIRD AMENDED COMPLAINT

       Plaintiffs SONYA ADAMS, JONATHAN ABUAN, KAMERON ACERET,

 KANANI ADAMS, JASON AGLIAM, TIANA AHUE, LANCE AIMOTO,

 DAREN AJIFU, ANDREW AKANA, JEAN-THIERRY ALEMAN, MANAHEL

 AL-HOZAIL, TERESA ALLEN, ANTHONY ALTOMARE, JENNIFER

 ALTOMARE, KEN T. ANAMA, LINDSEY ANDREWS, CHANTE MARIE

 ANGUAY, KENNETH ARAI, JOHN ARAKAWA, KURRY ARAKI, KYLE

 ARNBERGER, JOSEPH AU, FRANCIS S. AURELLANO, DANIEL

 BACHMAN, GABRIEL BADUA, CRISTINA BAGLIO, JOHNNY BRANDT

 BAIZE, EDWIN V. BARAYUGA, PAUL Z. BARRAZA, AMADOR JONAH E.

 BARRIOS, WILLIAM B. BATALON, KANISHA BELLO, ALEX BERARDO,

 LINDA BILLINS, MATTHEW BISE, ANDREW H. BOND, MICHAEL E.

 BOWDERN, JUSTIN BRAID, KEAVY BRENNAN, EDWARD CABALLERO,

 CYRUS CAMP, FLOYD J. CASTELLANO, ASHLEY CAZIMERO, SHIRLEY

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 ANN CAZINHA, MARLON R. CEZAR, MICHAEL CHAN, ERIC

 CHIAVETTA, JEFFREY CHING, DIANA P. CHUN, JOLENE CHUN,

 FRANCES CHUNG, CHRISTOPHER COLOMA, ROMEL CORONEL, EMMA

 CRISTINA A. CORPUZ, JENNIFER H. COSTA, CHRISTINA ERIN

 COULSON, SARAH COVELL, JADE DAWSON, DANIEL DEANDA,

 SHAWNA DELOS SANTOS, DANIELLE-JORDAN K.S. DEMELLO, KELLY

 DESHA, DARCEL DIZON, DEO AMOR DOMINGO, JOSEPH M. DOMINGO,

 JR., MATTHEW DOMINGO, CHRISTOPHER DRAZIC, JOSEPH

 DUHAYLONSOD, ADELE DULDULAO, NEAL CARLO FAJARDO,

 KENNETH FARIA, SUNNY FITZGERALD, WILLIE FONG, DEVIN

 FONTANILLA, NIKO FONTANILLA, RAYMOND FRANCO, TIMOTHY

 FREDRICKSON, SHANNON M. FUCHIGAMI, MARIO FUENTES, REECE

 FUJIKAWA, HOWARD FUJIMOTO, EDWARD FUJIOKA, JANSEN FUKUDA,

 DANE FURUTANI, JULIA K. C. GABAYLO, JENNA MARIE GANDY,

 ANGELA GARCIA, KEOPELE GOWAN, LAURIE A.O. GRACE, JANE L.

 GREENWOOD, FRANKLIN GREGORIO, DONALD GREY, NORMAN T.K.

 HAHN, TREVOR HALVERSON, BRIAN HARRISON, JAMES HARUGUCHI,

 ASHLEY HASHIMOTO, KAIPO HAYASHIDA, ROBERT HAYSLIP,

 NATASHA HEE, JEANEEN HELDT, WESLEY HELM, RUDDY


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 HERNANDEZ, KELSEY HIGA, KIMBERLY HIGA, NICHOLAS YOSHIO

 HIGA, TROY HIGUCHI, MIKE HIRATA, CATHERINE M. HO, JACOB HO,

 KITMING HO, JONATHAN HONG, JEFFREY R. HUGHES, THOMAS SIMMS

 HUGHES, MALEK HURD, GUSTAVO HWUNAN, BRANDEN M. IGE, JEFF

 JACOBSON, TONYA C. JOHNSON, DAGAN JOHNSTON, PATRICIA JONES,

 FELIMON JULIANO, JR., WAIPUNALANI H. KAHALEPUNA, LANE

 KAHANAOI-NICHOLS, HENRY P. KAHULA, IV, JUDY KAKAZU, RYAN

 KALUA, MITCHELL K.C. KAM, JR., BREXSON KAMANO, DENISE

 KAMEDA, JOHN KANAULU, JR., BRANDEN E. KANESHIRO, JASON S.

 KANESHIRO, TED KANESHIRO, JILLIAN KELEKOMA, TRAVIS KERWIN,

 KELLY C. KIHE, YU SUNG KIM, YVONNE KINERNEY-AUSTIN, RICH

 KING, MATTHEW KINOSHITA, SCOTT E. KIRLEY, DOREEN KITAGAWA,

 ARLENE KOH, ERICKSEN KOHATSU, BENNETT KOJIMA, ANDY

 KUMAMOTO, LAURA KUMAMOTO, JEFFRY L. KURASHIMA, ALVIN

 KURIHARA, JON KUROSU, JON KUSANO, JOHNELL LADERA, MAILE

 LAMBETH, MATTHEW LAMKE, ZAKARIAH K. LANI YOUNG, MARIE

 LAPLACA, BRETT R. LARONDE, CHAD LAU, KARLY LAU, LAUREN LAU,

 BELINDA C.W. LEE, CHRISTOPHER ROBIN LEE, DOMINIQUE LEE,

 JONATHAN J. LEE, STEVEN LEE, LEE L. LENCHANKO, HOPE ANN


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 YOUNGBLOOD LEWIS, WAILUA LIND, TRACIE K.Y. LOCK, JASON P.

 LOPEZ, CRISTA LOVE, CHRISTINE LUAN, JUAN M.R. LUJAN, ERIC LUM,

 PAMELA LUM, JOHN LYDEN, CHRISTOPHER MANSITO, GEORGE K.

 MANUEL, MATEO FRANCISCO MARIANO, JARETT MARTIN, ANGELA

 MARUMOTO, ANGELA MASUDA, TED MASUDA, ALLYN MATSUDA,

 JUSTIN MATSUDA, JUSTIN MATSUDO, KRYSTL MATSUNAGA, KILI

 MATSUSHIMA, IAN S. MCCAULLEY, SARAH MCDONALD, THERESA

 MCGREGOR, MOLLY MCGUIRE, SEAN MCGUIRE, MATTHEW

 MCMULLIN, LUIS M. MELENDEZ, RICHARD K. MENDONCA, SHALEI

 MENESES, SHEREE MILLER, KIMBERLY MIYASATO, MARK MOCHIDA,

 ERIC MOENNICH, SHARA MOLINA, SCOTT MONJI, BERNARDO P.

 MOREIRA, MARC MORIGUCHI, JASON MOSES, JOHN E. MOSLANDER,

 DAVID MOWER, CHAD MULLEITNER, GARY L. MUNIZ, SHERRYANN

 MURPHY, JACK NAGAISHI, JOY NAKAHARA, CORY NAKAYAMA,

 KYLAN NASCIMENTO, LANE T. NATORI, CHRISTOPHER C. NICHOLS,

 CHRIS H. NITTA, NATHAN NONAKA, ADAM D. OGDEN, DERRICK

 OKAMOTO, NED L. ONTAI, ROCHEL ORTIZ, NICOLE OTA, RYAN

 PAEKUKUI, STACEY PALEA, MARK DOMINIC PALTING, ROBERT

 PANTOCA, HUMBERTO PARODI, CHRISTIAN PERKINS, CHRISTOPHER


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 K. PIDOT, JENNIE PIGAO, DANIEL POMERANTZ, KARESE POULOS,

 LINDSAY N. PRITCHARD, GERALD H. RABACAL, SUE RAUCH, JOEL

 RAYMOND, JASON ROBINSON, ANTHONY ROSSI, GRETCHEN SAILER,

 WILLIAM FRANK SAINS, JUSTIN SANTIAGO, KIMBERLY SANTOS,

 DEAN R. SCHILD, ALEXANDER C. SCHMALENSEE, KA'OHUOKA'ALA

 SETO, BRENT SHIMABUKURO, DARCY SHIMIZU, MELINDA SHIRAKI,

 ESTEE (OKAMURA) SHIZURU, ANTHONY SIMPSON, BRENDAN SMITH,

 KEA SMITH, NAOMI L. SMITH, KALEOLANI SOUZA, BRYAN

 STAUBITSER, MIKEN STAUBITSER, KEVIN M. STINSON, JAKE STYNER,

 SHINNOSUKE SUGA, AKOI SUGIYAMA, CHESTER SUKEKANE,

 ZACHARY L. SUNIGA, PAUL TAGARIELLO, EUGENE TAKAHASHI,

 JORDON TAKAKURA-PUHA, DON TAKARA, KRYSTLE TAKARA,

 LEIGHTON TAKARA, BEN TAKEMURA, SHAUN K. TAKESHITA, CHAS

 TAKETA, CHADWICK TAM, DEVIN TAM, JEFFREY H. TAMAYE,

 MARITES TAMAYO, ALLAN TAMBIO, KELL Y. TANABE, JR., JARED

 TANOUYE, JACK TAUSEND, ISAAC TEJADA, EDWARD K. THOMPSON,

 IV, MICHAEL THOMPSON, RACHAEL TOMAS-QUINSAAT, KAY

 TOMASA, LANDON TOSHI, ANDREW K. TREJO, DAWNE TSUHA,

 MATTHEW TSUNEDA, ALISA A. TUI, K.A. PUANANI TUULIMA, KEVIN K.


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 TWOMEY, RYAN UMENO, DANIEL UNO, SHELDON UYETAKE, EPELI

 VAKALALABURE, CHRISTIAN VELASCO, LEE VIERRA, ERIC

 WATANABE, JULIE WATANUKI, JILLIAN WENDERLICH, BARRY

 WILDERN, JEFFREY WILKINSON, RODNEY WILLIAMS, RONALD M.

 WOLF, II, GREGORY WONG, SHARI WONG, RONALD N. YAMADA, EVAN

 K. YAMAGISHI, SPENCER YAMAMOTO, KAZUO YAMAUCHI, DERRICK

 T.T. YONEZAWA, STACY YOSHIKAWA, ALAN W.L. YOUNG, JULIE M.

 YOUNG, EMILY L. ZUCKERNICK and JANE DOES AND JOHN DOES 1-250

 (hereinafter referred to collectively as “Plaintiffs”), by and through their attorney,

 CARL M. VARADY, for their Third Amended Complaint against the City and

 County of Honolulu, allege

                           JURISDICTION AND VENUE

              1.     Jurisdiction is conferred upon this court by 28 U.S.C. § 1331

 and 29 U.S.C. §216(b).

              2.     Venue is proper in this court as all the claims arose in the

 District of Hawai‘i.

              3.     The claims are maintained as a collective action under, and

 pursuant to, the Fair Labor Standards Act (hereinafter "FLSA") 29 U.S.C. §216(b),

 on behalf of all other similarly situated persons, that is, all persons employed by


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 Defendant City and County of Honolulu (“Defendant”) as Emergency

 Management Technicians (“EMTs”) and “Paramedics.”

              4.     Plaintiffs allege that Defendant has repeatedly, knowingly and

 wilfully denied Plaintiffs overtime payment required by federal wage-hour law.

                                       PARTIES

              5.     Lead Plaintiff SONYA ADAMS is, and at all times relevant to

 this action was, a resident of the City and County of Honolulu, State of Hawai‘i,

 employed as a Paramedic. Ms. Adams has undertaken to obtain the written

 consent of the other plaintiffs who join in this collective action. Plaintiff brings her

 claim under the FLSA as a collective action under 29 U.S.C. § 2l6(b) on behalf of

 herself and all others similarly situated, namely: all persons who were employed by

 Defendant as EMTs and/or Paramedics during the three years preceding the filing

 of this Complaint, and who were improperly denied overtime payments for work in

 excess of the 40-hour work week.

              6.     Based on Defendant's violation of the overtime wage provision

 of the FLSA, Plaintiff's claim is properly brought and maintained as an

 "opt-in"collective action pursuant to 29 U.S.C. § 2l6(b) of the FLSA, because

 Plaintiff's claims are similar to the claims of the Class members. Plaintiff and the

 opt-in Class members identified below are similarly situated, as they had


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 substantially similar job requirements and were subject to a common practice,

 policy or plan that required them to perform work without overtime compensation.

             7.     Opt-in Plaintiffs JONATHAN ABUAN, KAMERON

 ACERET, KANANI ADAMS, JASON AGLIAM, TIANA AHUE, LANCE

 AIMOTO, DAREN AJIFU, ANDREW AKANA, JEAN-THIERRY ALEMAN,

 MANAHEL AL-HOZAIL, TERESA ALLEN, ANTHONY ALTOMARE,

 JENNIFER ALTOMARE, KEN T. ANAMA, LINDSEY ANDREWS, CHANTE

 MARIE ANGUAY, KENNETH ARAI, JOHN ARAKAWA, KURRY ARAKI,

 KYLE ARNBERGER, JOSEPH AU, FRANCIS S. AURELLANO, DANIEL

 BACHMAN, GABRIEL BADUA, CRISTINA BAGLIO, JOHNNY BRANDT

 BAIZE, EDWIN V. BARAYUGA, PAUL Z. BARRAZA, AMADOR JONAH E.

 BARRIOS, WILLIAM B. BATALON, KANISHA BELLO, ALEX BERARDO,

 LINDA BILLINS, MATTHEW BISE, ANDREW H. BOND, MICHAEL E.

 BOWDERN, JUSTIN BRAID, KEAVY BRENNAN, EDWARD CABALLERO,

 CYRUS CAMP, FLOYD J. CASTELLANO, ASHLEY CAZIMERO, SHIRLEY

 ANN CAZINHA, MARLON R. CEZAR, MICHAEL CHAN, ERIC

 CHIAVETTA, JEFFREY CHING, DIANA P. CHUN, JOLENE CHUN,

 FRANCES CHUNG, CHRISTOPHER COLOMA, ROMEL CORONEL, EMMA

 CRISTINA A. CORPUZ, JENNIFER H. COSTA, CHRISTINA ERIN


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 COULSON, SARAH COVELL, JADE DAWSON, DANIEL DEANDA,

 SHAWNA DELOS SANTOS, DANIELLE-JORDAN K.S. DEMELLO, KELLY

 DESHA, DARCEL DIZON, DEO AMOR DOMINGO, JOSEPH M. DOMINGO,

 JR., MATTHEW DOMINGO, CHRISTOPHER DRAZIC, JOSEPH

 DUHAYLONSOD, ADELE DULDULAO, NEAL CARLO FAJARDO,

 KENNETH FARIA, SUNNY FITZGERALD, WILLIE FONG, DEVIN

 FONTANILLA, NIKO FONTANILLA, RAYMOND FRANCO, TIMOTHY

 FREDRICKSON, SHANNON M. FUCHIGAMI, MARIO FUENTES, REECE

 FUJIKAWA, HOWARD FUJIMOTO, EDWARD FUJIOKA, JANSEN FUKUDA,

 DANE FURUTANI, JULIA K. C. GABAYLO, JENNA MARIE GANDY,

 ANGELA GARCIA, KEOPELE GOWAN, LAURIE A.O. GRACE, JANE L.

 GREENWOOD, FRANKLIN GREGORIO, DONALD GREY, NORMAN T.K.

 HAHN, TREVOR HALVERSON, BRIAN HARRISON, JAMES HARUGUCHI,

 ASHLEY HASHIMOTO, KAIPO HAYASHIDA, ROBERT HAYSLIP,

 NATASHA HEE, JEANEEN HELDT, WESLEY HELM, RUDDY

 HERNANDEZ, KELSEY HIGA, KIMBERLY HIGA, NICHOLAS YOSHIO

 HIGA, TROY HIGUCHI, MIKE HIRATA, CATHERINE M. HO, JACOB HO,

 KITMING HO, JONATHAN HONG, JEFFREY R. HUGHES, THOMAS SIMMS

 HUGHES, MALEK HURD, GUSTAVO HWUNAN, BRANDEN M. IGE, JEFF


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 JACOBSON, TONYA C. JOHNSON, DAGAN JOHNSTON, PATRICIA JONES,

 FELIMON JULIANO, JR., WAIPUNALANI H. KAHALEPUNA, LANE

 KAHANAOI-NICHOLS, HENRY P. KAHULA, IV, JUDY KAKAZU, RYAN

 KALUA, MITCHELL K.C. KAM, JR., BREXSON KAMANO, DENISE

 KAMEDA, JOHN KANAULU, JR., BRANDEN E. KANESHIRO, JASON S.

 KANESHIRO, TED KANESHIRO, JILLIAN KELEKOMA, TRAVIS KERWIN,

 KELLY C. KIHE, YU SUNG KIM, YVONNE KINERNEY-AUSTIN, RICH

 KING, MATTHEW KINOSHITA, SCOTT E. KIRLEY, DOREEN KITAGAWA,

 ARLENE KOH, ERICKSEN KOHATSU, BENNETT KOJIMA, ANDY

 KUMAMOTO, LAURA KUMAMOTO, JEFFRY L. KURASHIMA, ALVIN

 KURIHARA, JON KUROSU, JON KUSANO, JOHNELL LADERA, MAILE

 LAMBETH, MATTHEW LAMKE, ZAKARIAH K. LANI YOUNG, MARIE

 LAPLACA, BRETT R. LARONDE, CHAD LAU, KARLY LAU, LAUREN LAU,

 BELINDA C.W. LEE, CHRISTOPHER ROBIN LEE, DOMINIQUE LEE,

 JONATHAN J. LEE, STEVEN LEE, LEE L. LENCHANKO, HOPE ANN

 YOUNGBLOOD LEWIS, WAILUA LIND, TRACIE K.Y. LOCK, JASON P.

 LOPEZ, CRISTA LOVE, CHRISTINE LUAN, JUAN M.R. LUJAN, ERIC LUM,

 PAMELA LUM, JOHN LYDEN, CHRISTOPHER MANSITO, GEORGE K.

 MANUEL, MATEO FRANCISCO MARIANO, JARETT MARTIN, ANGELA


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 MARUMOTO, ANGELA MASUDA, TED MASUDA, ALLYN MATSUDA,

 JUSTIN MATSUDA, JUSTIN MATSUDO, KRYSTL MATSUNAGA, KILI

 MATSUSHIMA, IAN S. MCCAULLEY, SARAH MCDONALD, THERESA

 MCGREGOR, MOLLY MCGUIRE, SEAN MCGUIRE, MATTHEW

 MCMULLIN, LUIS M. MELENDEZ, RICHARD K. MENDONCA, SHALEI

 MENESES, SHEREE MILLER, KIMBERLY MIYASATO, MARK MOCHIDA,

 ERIC MOENNICH, SHARA MOLINA, SCOTT MONJI, BERNARDO P.

 MOREIRA, MARC MORIGUCHI, JASON MOSES, JOHN E. MOSLANDER,

 DAVID MOWER, CHAD MULLEITNER, GARY L. MUNIZ, SHERRYANN

 MURPHY, JACK NAGAISHI, JOY NAKAHARA, CORY NAKAYAMA,

 KYLAN NASCIMENTO, LANE T. NATORI, CHRISTOPHER C. NICHOLS,

 CHRIS H. NITTA, NATHAN NONAKA, ADAM D. OGDEN, DERRICK

 OKAMOTO, NED L. ONTAI, ROCHEL ORTIZ, NICOLE OTA, RYAN

 PAEKUKUI, STACEY PALEA, MARK DOMINIC PALTING, ROBERT

 PANTOCA, HUMBERTO PARODI, CHRISTIAN PERKINS, CHRISTOPHER

 K. PIDOT, JENNIE PIGAO, DANIEL POMERANTZ, KARESE POULOS,

 LINDSAY N. PRITCHARD, GERALD H. RABACAL, SUE RAUCH, JOEL

 RAYMOND, JASON ROBINSON, ANTHONY ROSSI, GRETCHEN SAILER,

 WILLIAM FRANK SAINS, JUSTIN SANTIAGO, KIMBERLY SANTOS,


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 DEAN R. SCHILD, ALEXANDER C. SCHMALENSEE, KA'OHUOKA'ALA

 SETO, BRENT SHIMABUKURO, DARCY SHIMIZU, MELINDA SHIRAKI,

 ESTEE (OKAMURA) SHIZURU, ANTHONY SIMPSON, BRENDAN SMITH,

 KEA SMITH, NAOMI L. SMITH, KALEOLANI SOUZA, BRYAN

 STAUBITSER, MIKEN STAUBITSER, KEVIN M. STINSON, JAKE STYNER,

 SHINNOSUKE SUGA, AKOI SUGIYAMA, CHESTER SUKEKANE,

 ZACHARY L. SUNIGA, PAUL TAGARIELLO, EUGENE TAKAHASHI,

 JORDON TAKAKURA-PUHA, DON TAKARA, KRYSTLE TAKARA,

 LEIGHTON TAKARA, BEN TAKEMURA, SHAUN K. TAKESHITA, CHAS

 TAKETA, CHADWICK TAM, DEVIN TAM, JEFFREY H. TAMAYE,

 MARITES TAMAYO, ALLAN TAMBIO, KELL Y. TANABE, JR., JARED

 TANOUYE, JACK TAUSEND, ISAAC TEJADA, EDWARD K. THOMPSON,

 IV, MICHAEL THOMPSON, RACHAEL TOMAS-QUINSAAT, KAY

 TOMASA, LANDON TOSHI, ANDREW K. TREJO, DAWNE TSUHA,

 MATTHEW TSUNEDA, ALISA A. TUI, K.A. PUANANI TUULIMA, KEVIN K.

 TWOMEY, RYAN UMENO, DANIEL UNO, SHELDON UYETAKE, EPELI

 VAKALALABURE, CHRISTIAN VELASCO, LEE VIERRA, ERIC

 WATANABE, JULIE WATANUKI, JILLIAN WENDERLICH, BARRY

 WILDERN, JEFFREY WILKINSON, RODNEY WILLIAMS, RONALD M.


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 WOLF, II, GREGORY WONG, SHARI WONG, RONALD N. YAMADA, EVAN

 K. YAMAGISHI, SPENCER YAMAMOTO, KAZUO YAMAUCHI, DERRICK

 T.T. YONEZAWA, STACY YOSHIKAWA, ALAN W.L. YOUNG, JULIE M.

 YOUNG, EMILY L. ZUCKERNICK and JANE DOES AND JOHN DOES 1-250,

 are, and at all times relevant to this action were, residents of the City and County of

 Honolulu, State of Hawai‘i, employed as EMTs and/or Paramedics by the

 Defendant.

              8.     Plaintiffs have consented to join this action. See Exhibits 1-317.

              9.     Defendant City and County of Honolulu is, and at all times

 pertinent herein was, a body politic organized under the laws of the State of

 Hawai‘i.

              10.    Defendant City and County of Honolulu is, and at all times

 pertinent herein was, a public agency within the meaning of 29 U.S.C. § 203(x).

              11.    Defendant City and County of Honolulu is, and at all times

 pertinent herein was, engaged in related activities performed through unified

 operation or common control for a common business purpose in conjunction with

 the activities of a public agency. Defendant City and County of Honolulu is, and at

 all times pertinent herein was, an enterprise within the meaning of 29 U.S.C.

 §203(r).


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              12.   Defendant City and County of Honolulu is, and at all times

 pertinent herein was, an enterprise engaged in commerce or the production of

 goods for commerce within the meaning of 29 U.S.C. §203(s).

                       FIRST CLAIM FOR RELIEF
              (VIOLATION OF FAIR LABOR STANDARDS ACT)

              13.   Plaintiffs incorporate the allegations in the paragraphs above.

              14.   Plaintiffs must be paid overtime based on a 40-hour work week.

 Plaintiffs perform mostly medical services and work related to medical services, do

 not have "responsibility to engage in fire suppression" as set forth in 29 U.S.C. §

 203(y), and are medical personnel, not firefighters. Plaintiffs are not within the 40-

 hour work week exemption pursuant to 29 U.S.C. § 207(k).

              15.   Plaintiffs regularly worked substantial overtime hours (i.e., over

 40 in a work-week) but Defendant has not paid them the overtime wages they are

 owed.

              16.   Defendant City and County of Honolulu has knowingly and

 willfully violated, and is knowingly and willfully violating, the overtime

 compensation requirements of 29 U.S.C. §207, by employing Plaintiffs and other

 similarly situated employees in an enterprise engaged in commerce or in the

 production of goods for commerce, for work weeks longer than the applicable

 maximum weekly hours established by 29 U.S.C. § 207, without compensating

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 them for their employment in excess of the above-described hours at rates not less

 than one and one-half times their regular rates of pay.

                      SECOND CLAIM FOR RELIEF
              (VIOLATION OF FAIR LABOR STANDARDS ACT)

              17.   Plaintiffs incorporate the allegations set forth in the paragraphs

 above.

              18.   Defendant City and County of Honolulu has knowingly and

 willfully violated, and is knowingly and willfully violating, the overtime

 compensation requirements of 29 U.S.C. § 207, and the Rules and Regulations

 promulgated thereunder, by knowingly and willfully failing to make timely

 payments for hours worked in excess of the 40-hour work week at rates not less

 than one and one-half times their regular rates of pay to Plaintiffs and other

 similarly-situated employees.

                   THIRD CLAIM FOR RELIEF
   (RETALIATION IN VIOLATION OF FAIR LABOR STANDARDS ACT)

              19.   Plaintiffs incorporate the allegations set forth in the paragraphs

 above.

              20.   The FLSA anti-retaliation provision provides that it is unlawful:

       To discharge or in any other manner discriminate against any
       employee because such employee has filed any complaint or instituted
       or caused to be instituted any proceeding under or related to this
       chapter, or has testified or is about to testify in any such proceeding,

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       or has served or is about to serve on an industry committee.

 29 U.S.C. § 215(a)(3).

              21.   Defendant engaged in retaliation in response to Plaintiffs'

 protesting Defendant's violation of the FLSA.

              22.   A reasonable employee would have found Defendant's action

 materially adverse, in that it might have dissuaded a reasonable worker from

 making or supporting a FLSA complaint.

              WHEREFORE, Plaintiffs demand:

              1.    That the Court permit this action to proceed as a collective

 action under 29 U.S.C. § 216(b);

              2.    That the Defendant be enjoined from continuing the unlawful

 practices described herein;

              3.    That Defendant be required to pay the Plaintiffs and all other

 similarly situated employees unpaid overtime compensation found due by the court

 as a result of Defendant's violation of 29 U.S.C. § 207 of the FLSA, plus an

 additional equal amount as liquidated damages;

              4.    That Defendant be required to pay to the Plaintiffs and all other

 similarly situated employees an amount equal to the overtime compensation found

 to be unlawfully delayed or deferred in violation of 29 U.S.C. § 207 of the FLSA,


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 plus an additional equal amount as liquidated damages;

                 5.    That Defendant be required to pay to the Plaintiffs and all other

 similarly situated employees any retirement benefits owed as a result of violations

 of 29 U.S.C. § 207 of the FLSA, plus an additional equal amount as liquidated

 damages;

                 6.    That Defendant be required to pay to the Plaintiffs and all other

 similarly situated employees punitive damages pursuant to 29 U.S.C. § 216(b);

                 7.    That Defendant be required to pay Plaintiffs' reasonable

 attorney's fees, costs of this action and both prejudgment and post-judgment

 interest; and

                 8.    That Plaintiffs have such further relief as is just and necessary.

                          RENEWED JURY TRIAL DEMAND

                 Plaintiffs hereby demand a trial by jury for all issues so triable.

                 DATED: Honolulu, Hawai‘i, June 5, 2017.


                                                    /s/ Carl M. Varady
                                                    CARL M. VARADY
                                                    Attorney for Sonya Adams and Opt-in
                                                    Plaintiffs




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